                                                                   Case 9:19-bk-11573-MB              Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18            Desc
                                                                                                       Main Document     Page 1 of 8


                                                                   1   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                       Maxim B. Litvak (CA Bar No. 215852)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067-4114
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       Email: jpomerantz@pszjlaw.com
                                                                   5           mlitvak@pszjlaw.com

                                                                   6   Attorneys for the Official Committee of
                                                                       Unsecured Creditors
                                                                   7                              UNITED STATES BANKRUPTCY COURT

                                                                   8                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                   9                                           NORTHERN DIVISION

                                                                  10   In re:                                               Case No.: 19-bk-11753-MB

                                                                  11   HVI CAT CANYON, INC.                                 Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                Debtor.                NOTICE OF FILING OF APPLICATION
                                                                                                                           FOR APPROVAL OF THE EMPLOYMENT
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                       OF DORE ROTHBERG McKAY AS
                                           ATTORNEYS AT LAW




                                                                                                                           SPECIAL OIL & GAS COUNSEL TO THE
                                                                  14                                                       OFFICIAL COMMITTEE OF UNSECURED
                                                                                                                           CREDITORS, EFFECTIVE AS OF
                                                                  15                                                       NOVEMBER 14, 2019

                                                                  16
                                                                                                                            [No Hearing Required]
                                                                  17

                                                                  18   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY JUDGE,
                                                                       THE DEBTOR AND DEBTOR IN POSSESSION, THE OFFICE OF THE UNITED STATES
                                                                  19   TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

                                                                  20            PLEASE TAKE NOTICE the Official Committee of Unsecured Creditors (the “Committee”)

                                                                  21   appointed in the bankruptcy case of HVI Cat Canyon, Inc. (the “Debtor”), has filed its application (the

                                                                  22   “Application”) to employ Dore Rothberg McKay as its special oil & gas counsel (“DRM”), effective

                                                                  23   as of November 14, 2019, to perform the following services:

                                                                  24                        assist the Committee in its investigation of the liens asserted by UBS AG
                                                                                             against the Debtor’s oil and gas interests;
                                                                  25
                                                                                            prepare, on behalf of the Committee, any pleadings, including without
                                                                  26                         limitation, motions, memoranda, complaints, adversary complaints,
                                                                                             objections or comments in connection with the foregoing; and
                                                                  27
                                                                                            perform such other legal services as may be required or requested or as may
                                                                  28                         otherwise be deemed in the interests of the Committee in accordance with


                                                                       DOCS_LA:326378.1 38336/002
                                                                   Case 9:19-bk-11573-MB            Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18            Desc
                                                                                                     Main Document     Page 2 of 8


                                                                   1                         the Committee’s powers and duties as set forth in the Bankruptcy Code,
                                                                                             Bankruptcy Rules or other applicable law.
                                                                   2
                                                                               PLEASE TAKE FURTHER NOTICE that subject to the provisions of the Bankruptcy Code,
                                                                   3
                                                                       the Bankruptcy Rules, the Local Bankruptcy Rules, the United States Trustee Guidelines, and this
                                                                   4
                                                                       Court’s rules, DRM requests that its customary hourly rates in effect from time to time be utilized to
                                                                   5
                                                                       reimburse DRM according to its customary reimbursement policies. The attorneys and paralegals who
                                                                   6
                                                                       were primarily responsible for representing the Committee and their standard hourly rates are:
                                                                   7
                                                                                                  Name                   Title                 Hourly Rate
                                                                   8
                                                                                               Carl Dore, Jr.     Managing Shareholder          $410.00
                                                                   9                         Lisa A. Rothberg         Shareholder               $410.00
                                                                                              Zachary McKay           Shareholder               $410.00
                                                                  10                         Anabella Manzano          Paralegal                $145.00
                                                                                               Chrys Hymel             Paralegal                $145.00
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           PLEASE TAKE FURTHER NOTICE that DRM has not received any retainer in connection
                                        LOS ANGELES, CALIFORNIA




                                                                  13   with this case. DRM understands that its compensation in the case is subject to the prior approval of
                                           ATTORNEYS AT LAW




                                                                  14   the Court. No compensation will be paid except upon application to and approval by the Court after
                                                                  15   notice and a hearing in accordance with sections 330 and 331 of the Bankruptcy Code, Bankruptcy
                                                                  16   Rule 2016, and Local Bankruptcy Rule 2016-1.
                                                                  17           PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 2014-1(b), a
                                                                  18   hearing is not required in connection with the Application unless requested by the United States
                                                                  19   Trustee, a party in interest, or otherwise ordered by the Court. Pursuant to Local Bankruptcy Rule
                                                                  20   2014-1(b)(3)(E), any response to the Application and request for hearing must be in the form
                                                                  21   prescribed by Local Bankruptcy Rule 9013-1(f)(1) and must be filed with the Court and served upon
                                                                  22   the Committee, its proposed counsel, and the United States Trustee no later than fourteen days from
                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                    2
                                                                       DOCS_LA:326378.1 38336/002
                                                                   Case 9:19-bk-11573-MB            Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18             Desc
                                                                                                     Main Document     Page 3 of 8


                                                                   1   the date of service of this notice. A copy of the Application can be obtained by contacting Beth Dassa,

                                                                   2   Paralegal, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Boulevard, 13th Floor, Los

                                                                   3   Angeles,     CA     90067,    Telephone:   (310)   277-6910,   Facsimile   (310)   201-0760,     email:

                                                                   4   bdassa@pszjlaw.com.

                                                                   5    Dated:     December 4, 2019                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                   6
                                                                                                                         By   /s/ Maxim B. Litvak
                                                                   7                                                          Attorneys for Official Committee of
                                                                                                                              Unsecured Creditors
                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                     3
                                                                       DOCS_LA:326378.1 38336/002
        Case 9:19-bk-11573-MB                     Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18                                      Desc
                                                   Main Document     Page 4 of 8
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING OF APPLICATION FOR
APPROVAL OF THE EMPLOYMENT OF DORE ROTHBERG McKAY AS SPECIAL OIL & GAS COUNSEL TO THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS, EFFECTIVE AS OF NOVEMBER 14, 2019 will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 4, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 4, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 4, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA OVERNIGHT DELIVERY
 Honorable Martin R. Barash
 U.S. Bankruptcy Court
 21041 Burbank Boulevard, Suite 342 / Courtroom 303
 Woodland Hills, CA 91367-6603

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 4, 2019               Nancy H. Brown                                                  /s/ Nancy H. Brown
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:326391.3 38336/002
        Case 9:19-bk-11573-MB
                       Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18                                                             Desc
                         Main Document    Page 5 of 8
SERVICE INFORMATION FOR CASE NO. 19-bk-11573-MB

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        William C Beall will@beallandburkhardt.com,                                  Darren L Patrick dpatrick@omm.com, darren-patrick-
         carissa@beallandburkhardt.com                                                 1373@ecf.pacerpro.com
        Alicia Clough aclough@loeb.com,                                              Jeffrey N Pomerantz jpomerantz@pszjlaw.com
         mnielson@loeb.com,ladocket@loeb.com                                          Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
        Marc S Cohen mscohen@loeb.com, klyles@loeb.com                               Mitchell E Rishe mitchell.rishe@doj.ca.gov
        Alec S DiMario alec.dimario@mhllp.com,                                       Sonia Singh ssingh@DanningGill.com,
         debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com                            danninggill@gmail.com,ssingh@ecf.inforuptcy.com
        Karl J Fingerhood karl.fingerhood@usdoj.gov,                                 Daniel A Solitro dsolitro@lockelord.com, ataylor2@lockelord.com
         efile_ees.enrd@usdoj.gov
                                                                                      Ross Spence ross@snowspencelaw.com,
        H Alexander Fisch Alex.Fisch@doj.ca.gov                                       janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;bri
        Don Fisher dfisher@ptwww.com, tblack@ptwww.com                                ttanyDecoteau@snowspencelaw.com
        Brian D Fittipaldi brian.fittipaldi@usdoj.gov                                Christopher D Sullivan csullivan@diamondmccarthy.com,
        Gisele M Goetz gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu                     mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com
        Karen L Grant kgrant@silcom.com                                              Jennifer Taylor jtaylor@omm.com
        Ira S Greene Ira.Greene@lockelord.com                                        John N Tedford jtedford@DanningGill.com,
                                                                                       danninggill@gmail.com;jtedford@ecf.inforuptcy.com
        Matthew C. Heyn Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com
                                                                                      Salina R Thomas bankruptcy@co.kern.ca.us
        Brian L Holman b.holman@musickpeeler.com
                                                                                      Patricia B Tomasco pattytomasco@quinnemanuel.com,
        Eric P Israel eisrael@DanningGill.com,
                                                                                       barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com
         danninggill@gmail.com;eisrael@ecf.inforuptcy.com
                                                                                      Fred Whitaker lshertzer@cwlawyers.com
        Razmig Izakelian razmigizakelian@quinnemanuel.com
                                                                                      William E. Winfield wwinfield@calattys.com, scuevas@calattys.com
        Alan H Katz akatz@lockelord.com
                                                                                      Richard Lee Wynne richard.wynne@hoganlovells.com,
        John C Keith john.keith@doj.ca.gov
                                                                                       tracy.southwell@hoganlovells.com;cindy.mitchell@hoganlovells.com
        Jeannie Kim jkim@friedmanspring.com
                                                                                      Emily Young pacerteam@gardencitygroup.com,
        Maxim B Litvak mlitvak@pszjlaw.com                                            rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        Michael Authur McConnell (TR) Michael.mcconnell@kellyhart.com                Aaron E de Leest adeleest@DanningGill.com,
        Brian M Metcalf bmetcalf@omm.com                                              danninggill@gmail.com;adeleest@ecf.inforuptcy.com
        David L Osias dosias@allenmatkins.com,
         bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@
         allenmatkins.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:326391.3 38336/002
     Case 9:19-bk-11573-MB                   Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18                                       Desc
                                              Main Document     Page 6 of 8
    2. SERVED BY EMAIL

 NAME                                                                        EMAIL
 AKIN GUMP STRAUS HAUER & FELD                                               SDDAVIS@AKINGUMP.COM
 ALLEN MATKINS LECK GAMBLE                                                   JMEEDER@ALLENMATKINS.COM
 ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP                              DOSIAS@ALLENMATKINS.COM;MMARINO@ALLENMATKINS.C
                                                                             OM
 ANDREW KURTH LLP                                                            DZDUNKEWICZ@ANDREWSKURTH.COM
 ATTORNEY GENERAL OF CALIFORNIA                                              MICHAEL.ZARRO@DOJ.CA.GOV
 BRIAN CORSON, IN HIS INDIVIDUAL CAPACITY                                    BRIAN@HUBMAC.COM
 CA ATTORNEY GENERAL'S OFFICE                                                PIU@DOJ.CA.GOV
 CALIFORNIA DEPARTMENT OF CONSERVATION                                       SHARON.ARMSTRONG@CONSERVATION.CA.GOV
 CALIFORNIA DEPT. OF FISH & WILDLIFE 5                                       ASKR5@WILDLIFE.CA.GOV
 CALIFORNIA DIVISION OF OIL, GAS &                                           WEBMASTER@CONSERVATION.CA.GOV
 CALIFORNIA EMPLOYMENT DEVELOPMENT DEPT                                      WOTCSUPPORT@EDD.CA.GOV
 CALIFORNIA REGIONAL WATER QUALITY CONTROL BOARD                             CENTRALCOAST@WATERBOARDS.CA.GOV
 CALIFORNIA STATE CONTROLLER                                                 EOINQUIRY@SCO.CA.GOV
 CALIFORNIA STATE LANDS COMMISSION                                           JOHN.KEITH@DOJ.CA.GOV
 CALIFORNIA WATER RESOURCES CONTROL BOARD                                    INFO@WATERBOARDS.CA.GOV
 COLE SCHOTZ P.C.                                                            MWARNER@COLESCHOTZ.COM
 COLORADO DEPT OF PUBLIC HEALTH AND ENVIRONMENT                              CDPHE.INFORMATION@STATE.CO.US
 CONWAY MACKENZIE, INC.                                                      JYOUNG@CONWAYMACKENZIE.COM;DFERTIG@CONWAYMA
                                                                             CKENZIE.COM
 CUMMINS & WHITE, LLP                                                        FWHITAKER@CWLAWYERS.COM;
                                                                             ABOLDUC@CWLAWYERS.COM
 DIAMOND MCCARTHY LLP                                                        ADIAMOND@DIAMONDMCCARTHY.COM
 DIAMOND MCCARTHY LLP                                                        SGIUGLIANO@DIAMONDMCCARTHY.COM
 DIAMOND MCCARTHY LLP                                                        ADIAMOND@DIAMONDMCCARTHY.COM
 EPA REGION 9                                                                R9.INFO@EPA.GOV
 ESCOLLE TENANTS IN COMMON                                                   VMARTINEZ@TWITCHELLANDRICE.COM
 FRIEDMAN & SPRINGWATER LLP                                                  EFRIEDMAN@FRIEDMANSPRING.COM;
                                                                             JKIM@FRIEDMANSPRING.COM
 GANONG LAW                                                                  PHIL@GANONGLAW.COM; NANCY@GANONGLAW.COM
 GIBSON, DUNN & CRUTCHER LLP                                                 OADENDORFF@GIBSONDUNN.COM
 GLR, LLC                                                                    VAB@GRERANGROUP.COM
 HANNA AND MORTON LLP                                                        erenwick@hanmor.com
 HVI CAT CANYON, INC.                                                        RSG@GREKA.COM
 HVI CAT CANYON, INC.                                                        AGD@GREKA.COM
 HVI CAT CANYON, INC.                                                        MEO@GREKA.COM
 LARSEN O'BRIEN LLP                                                          PRIGALI@LARSONOBRIENLAW.COM;
                                                                             SBLEDSOE@LARSONOBRIENLAW.COM;
                                                                             HPARK@LARSONOBRIENLAW.COM;
                                                                             MVASQUEZ@LARSONOBRIENLAW.COM
 LOEB & LOEB LLP                                                             SROSENTHAL@LOEB.COM
 LOEB & LOEB LLP                                                             VRUBINSTEIN@LOEB.COM

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:326391.3 38336/002
     Case 9:19-bk-11573-MB                   Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18                                       Desc
                                              Main Document     Page 7 of 8
 NAME                                                                        EMAIL
 MCDOWELL HETHERINGTON LLP                                                   JARROD.MARTIN@MHLLP.COM
 MUSICK, PEELER & GARRETT LLP                                                B.HOLMAN@MUSICKPEELER.COM
 MUSICK, PEELER & GARRETT LLP                                                L.MCAVOY@MUSICKPEELER.COM
 NEW YORK STATE DEPT OF ENVIRONMENTAL CONSERVATION                           CONTACT@DEC.NY.GOV
 O'MELVENY & MYERS LLP                                                       EJONES@OMM.COM
 O'MELVENY & MYERS LLP                                                       DCANTOR@OMM.COM; SINDELICATO@OMM.COM;
                                                                             GSVIRSKY@OMM.COM
 PACHULSKI STANG ZIEHL & JONES LLP                                           SGOLDEN@PSZJLAW.COM;RFEINSTEIN@PSZJLAW.COM
 PACHULSKI STANG ZIEHL & JONES LLP                                           JPOMERANTZ@PSZJLAW.COM;MLITVAK@PSZJLAW.COM
 PACIFIC PETROLEUM CALIFORNIA, INC.                                          JOHN@PPCINC.BIZ
 PG&E                                                                        PGEBANKRUPTCY@PGE.COM;
                                                                             MXTN@PGE.COM;MARCELLUS.TERRY@PGE.COM
 QUINN EMANUEL URQUHART & SULLIVAN, LLP                                      PETERCALAMARI@QUINNEMANUEL.COM
 QUINN EMANUEL URQUHART & SULLIVAN, LLP                                      DEVINVANDERHAHN@QUINNEMANUEL.COM
 QUINN EMANUEL URQUHART & SULLIVAN, LLP                                      RAZMIGIZAKELIAN@QUINNEMANUEL.COM
 ROCHELLE MCCULLOUGH, LLP                                                    KDM@ROMCLAW.COM; STHOMAS@ROMCLAW.COM
 SANTA BARBARA COUNTY P&D                                                    JZORO@CO.SANTA‐BARBARA.CA.US
 SANTA BARBARA COUNTY TREASURER‐TAX COLLECTOR                                SBTAXES@CO.SANTA‐BARBARA.CA.US
 SANTA BARBARA COUNTY TREASURER‐TAX COLLECTOR                                VMCISAA@CO.SANTA‐BARBARA.CA.US
 SHERRILL A. SCHOEPE                                                         S.WETZLER@MUSICKPEELER.COM
 SNOW SPENCE GREEN LLP                                                       ROSS@SNOWSPENCELAW.COM;
                                                                             CAROLYNCAROLLO@SNOWSPENCELAW.COM
 SPENCER FANE LLP                                                            ERICVANHORN@SPENCERFANE.COM
 STATE OF COLORADO ATTORNEY GENERAL                                          ATTORNEY.GENERAL@COAG.GOV
 THE LAW OFFICE OF SUSAN M. WHALEN                                           SUSAN@WHALENATTORNEY.COM
 VICTORY OIL                                                                 SMALLBUSINESSTEAM@WOLTERSKLUWER.COM
 WEIL, GOTSHAL & MANGES LLP                                                  RACHAEL.FOUST@WEIL.COM
 WELTMAN & MOSKOWITZ, LLP                                                    REW@WELTMOSK.COM; MLM@WELTMOSK.COM;
                                                                             AW@WELTMOSK.COM
 WEST COAST WELDING & CONSTR. I                                              MBARBEY@WESTCOASTWELDING.NET
 WILLIAM W. JENNY JR.                                                        CARAMEL@HOTMAIL.COM


3. SERVED VIA U.S. FIRST CLASS MAIL

 ANN JENNY SCHUPP                                 BRUCE S. GELBER                                    CARL DORÉ II
 C/O M H WHITTIER CORP.                           DEPUTY ASST ATTORNEY GENERAL                       DORÉ ROTHBERG McKAY
 1600 HUNTINGTON DRIVE                            ENVIRONMENT & NATURAL RESOURCES                    17171 PARK ROW, SUITE 160
 SOUTH PASADENA, CA 91030                         DIVISION                                           HOUSTON, TX 77084
                                                  950 PENNSYLVANIA AVE
                                                  WASHINGTON, DC 20530
 CALIFORNIA FRANCHISE TAX BOARD                   CALIFORNIA OSHA                                    CALIFORNIA DEPT. OF TOXIC SUBSTANCE
 PO BOX 942857                                    1515 CLAY STREET, SUITE 1901                       CONTROL
 SACRAMENTO, CA 94257‐0500                        OAKLAND, CA 94612                                  (BERKLEY REGIONAL OFFICE)
                                                                                                     700 HEINZ AVENUE SUITE 200
                                                                                                     BERKELEY, CA 94710‐2721

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:326391.3 38336/002
     Case 9:19-bk-11573-MB                   Doc 582 Filed 12/04/19 Entered 12/04/19 16:45:18                                       Desc
                                              Main Document     Page 8 of 8
 CHARLES C. ALBRIGHT TRUSTEE                      DIANE T. WALKER                                    CALIFORNIA STATE CONTROLLER
 729 WEST 16TH STREET #B8                         748 OCEANVILLE ROAD                                BETTY T. YEE
 COSTA MESA, CA 92627                             STONINGTON, ME 04681‐9714                          TAX ADMINISTRATION SECTION
                                                                                                     PO BOX 942850
                                                                                                     SACRAMENTO, CA 94250‐5880
 HVI CAT CANYON, INC.                             INTERNAL REVENUE SERVICE                           FIRST AMERICAN TITLE INS. COMPANY
 P.O. BOX 5489                                    CENTRALIZED INSOLVENCY OPERATIONS                  TRUSTEE FOR UBS AG LONDON BRANCH
 SANTA MARIA, CA 93456                            PO BOX 7346                                        4380 LA JOLLA VILLAGE DRIVE, STE 110
                                                  PHILADELPHIA, PA 19101‐7346                        SAN DIEGO, CA 92122
 J. P. MORGAN‐CHASE                               NORTHERN CALIFORNIA COLLECTION                     INTERNAL REVENUE SERVICE
 MICHAEL KERNEY                                   SERVICE, INC.                                      (SMALL BUSINESS/SELF‐EMPLOYMENT
 450 WEST 33RD STREET, 15TH FLOOR                 700 LEISURE LANE                                   DIV)
 REF: 030057 NASSAU ASSOC‐SABA                    SACRAMENTO, CA 95815                               5000 ELLIN ROAD
 NEW YORK, NY 10041                                                                                  LANHAM, MD 20706
 STATE OF NEW YORK ATTORNEY                       STONER FAMILY TRUST                                SANTA BARBARA COUNTY ‐APCD
 GENERAL                                          JAMES G. SANFORD TRUSTEE                           AERON ARLIN GENET
 ATTN: LETIA A. JAMES                             100 WEST LIBERTY STREET. SUITE 900                 260 NORTH SAN ANTONIO RD
 DEPT. OF LAW                                     RENO, NV 89501                                     SANTA BARBARA, CA 93110
 THE CAPITOL, 2ND FL
 ALBANY, NY 12224
 UBS AG, LONDON BRANCH                            U.S. ATTORNEY'S OFFICE – SDNY                      U.S. DEPARTMENT OF TRANSPORTATION
 JULIAN GOULD                                     ATTN: ANTHONY SUN, ASST. U.S. ATTY                 1200 NEW JERSEY AVE, SE
 600 WASHINGTON BLVD.                             TAX & BANKRUPTCY UNIT                              WASHINGTON, DC 20590
 STAMFORD, CT 06901                               86 CHAMBERS ST., 3RD FLOOR
                                                  NEW YORK, NY 10007
 WYATT SLOAN‐TRIBE, ESQ.                          OFFICE OF THE U.S. TRUSTEE                         W. J. KENNY CORP.
 OFFICE OF THE ATTORNEY GENERAL                   BRIAN FITTIPALDI                                   C/O ALLFIRST BANKCORP TRUST C/O
 300 S. SPRING STREET, SUITE 1702                 1415 STATE STREET, SUITE 148                       M&T BANK
 LOS ANGELES, CA 90013                            SANTA BARBARA, CA 93101                            ONE M&T PLAZA
                                                                                                     BUFFALO, NY 14203




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:326391.3 38336/002
